
USCA1 Opinion

	




          May 19, 1993          [NOT FOR PUBLICATION]                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ___________________          No. 92-2341                                           IN RE:  ANDREW A. BUCCI,                                Petitioner, Appellant.                                  __________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                           FOR THE DISTRICT OF RHODE ISLAND                    [Hon. Ronald R. Lagueux, U.S. District Judge]                                             ___________________                                 ___________________                                        Before                                 Breyer, Chief Judge,                                         ___________                          Torruella and Cyr, Circuit Judges.                                             ______________                                 ___________________               Andrew A. Bucci on brief pro se.               _______________                                  __________________                                  __________________                      Per Curiam.   The appellant, Andrew A. Bucci, is an                      __________            attorney  in Rhode Island.   In 1976, Bucci  was convicted of            making false declarations in a federal court, in violation of            18  U.S.C.    1623(a),  and  of conspiracy  to  present false            testimony,  in violation of 18  U.S.C.   371.   Following the            conviction, the  Rhode Island  Supreme Court  suspended Bucci            from practice  in that  state's courts  for two years,  after            which he would become eligible to apply for reinstatement.                 Before Bucci became eligible for reinstatement, however,            he was convicted  of practicing law  without a license  (that            is, while  under suspension), in violation  of R.I.Gen.Laws              11-27-10,  and   sentenced  to   a  six-month  prison   term.            Following that conviction, in  1982, the Rhode Island Supreme            Court disbarred  Bucci.   Bucci was  reinstated to  the Rhode            Island bar in 1987.                 During  the period  1977-1982,  the Local  Rules of  the            United States District Court for the District of Rhode Island            authorized that  court to  take  disciplinary action  against            attorneys who  were convicted  of crimes of  moral turpitude,            but  the Rules required  a hearing and  a vote  of the judges            before sanctions could  be imposed.  The  district court took            no  such  affirmative   disciplinary  action  against   Bucci            following either of  his convictions.  However,  in 1984, the            district court adopted Local Rule 4(e)(4), which provides:                 An  attorney  who is  suspended  or disbarred  from                 practice by the highest Court of the State in which                                         -2-                 he/she  practices .  .  . shall  be suspended  from                 practicing before this Court. . . .                 Both  the district court and  Bucci appear to accept the            proposition that Rule 4(e)(4), upon its adoption, operated to            automatically suspend Bucci from practice before the district            court  by  virtue of  his  previous disbarment  by  the state            court.                 In 1988, Bucci applied for readmission to the bar of the            district court.   He renewed  the application in  1990.   The            district court held a hearing, at which Bucci appeared before            all three  active  judges.    The judges  then  decided  that            Bucci's "petition for  readmission to the  bar of this  Court            should be denied because of the nature and seriousness of the            offenses which  [he] committed."   The judges  expressed "the            opinion that any lawyer who has been convicted  of a crime of            dishonesty should be permanently barred from practice in this            Court."    The  district  court denied  Bucci's  request  for            reconsideration  and  entered  a judgment,  and  this  appeal            followed.  We affirm.                 Bucci  argues  that  the  Rhode  Island Supreme  Court's            decision to reinstate him in 1987 required the district court            to follow suit.  We disagree.   Local Rule 4(e)(4) does  not,            by its terms,  create a door that must swing  both ways.  The            rule allowed the  district court to  follow the Rhode  Island            Court's lead by disbarring  Bucci automatically following his            disbarment in the  state court,  but it did  not require  the                                         -3-            district  court to  accept  as dispositive  the Rhode  Island            Court's  assessment  of  Bucci's  rehabilitation  and current            fitness  to practice  law.   Rather, the  district court  was            entitled  to  make  its own  judgment  in  that  regard --  a            judgment that  we can  review only  for abuse  of discretion.            See  In  re Grievance  Committee  of  United States  District            ___  ________________________________________________________            Court, 847 F.2d 57, 61 (2d Cir. 1988); In re  Evans, 801 F.2d            _____                                  ____________            703, 706 (4th Cir. 1986); Standing Committee on Discipline v.                                      ________________________________            Ross, 735 F.2d 1168, 1172 (9th Cir. 1984).              ____                 Given the  "nature and seriousness"  of Bucci's criminal            offenses, we see no  abuse of discretion here.   The district            court had  good reason to  doubt Bucci's character.   Bucci's            federal  crimes --  making  false declarations  in a  federal            court, and  conspiring to  do so  -- were  felonies.   See 18                                                                   ___            U.S.C.    371 (penalty for  conspiracy is not  more than five            years imprisonment); 18 U.S.C.    1623(a) (penalty for making            false declarations is not more than five years imprisonment);            18 U.S.C.    1(1) (any  offense punishable by  more than  one            year in prison  is a  felony).  Permanent  disbarment may  be            premised upon a felony  conviction.  Ex Parte Wall,  107 U.S.                                                 _____________            265, 273  (1883); In re  Jones, 506 F.2d  527, 528 (8th  Cir.                              ____________            1974); In re Braverman, 148 F.Supp. 56, 57 (D.Md. 1957).                   _______________                 Bucci's state crime --  practicing law without a license            -- was  a misdemeanor.   See R.I.Gen.Laws   11-27-14 (maximum                                     ___            prison term  of six  months);   11-1-2  (defining misdemeanor                                         -4-            and felony).  However, the crime was directly related to, and            highly probative of, his fitness to practice law honestly and            ethically.   See  Ex  Parte  Wall, 107  U.S.  at  273.   And,                         ___  _______________            disbarment  is  an  appropriate  sanction for  a  lawyer  who            commits a misdemeanor "which imports fraud or dishonesty."                 The district  court obviated  any potential  due process            concerns by affording  Bucci a hearing before deciding not to            readmit him to its bar.                 Affirmed.                 ________                                         -5-

